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wEsTEaN olsTFtlc'r oF TENNEssEE F'U-=D BY .%r_ o.c.
MEMPl-ns DrvrsroN
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UNITED STATES OF AMER|CA

artists snow
-v. 2:04CR20356-01-B w.o. `3§= ‘r`r§,` Mz§v£t=ngs'
TERRY GRANT

Doris l=tandle-Holtl FPD

Defense Attorney

200 Jefferson Avenue, Suite 200
Memphis, TN 38103

 

JUDGMENT lN A CR|M|NAL CASE
(For Of'fenses Committed On or After November1, 1987)

The defendant was found guilty on Count 1 of the lndictment on Nlarch 10, 2005.
Accordingly, the court has adjudicated that the defendant is guilty of the following offenses:

Date Count
Title & Section !'.t|a_t\_l_l’e°fo__@£ Offense Number(sl
Conc|uded
18 U.S.C. § 922 (g) Felon in Possession of a Firearm 11/18/2003 1

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Fteform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

lT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition ot Sentence:
Defendant’s Date of Birth: 8/4/1966 June 22, 2005
Deft’s U.S. Marsha| No.: 18647-009

Defendant’s |V|ailing Address:

489 Tonto
Memphis, TN 38109

J. DAN|EL BREEN
U |TED STATES D|STFi|CT JUDGE

June ?J~ , 2005

This document entered on the docket sheet in compliance
with sure ss and/or 32(b) Fach on 1 ~ 7a 37

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lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 42 Months.

The Court recommends to the Bureau of Prisons:

That the defendant be housed at Nlillington, Tennessee, or in the alternative, at
Forrest City, Arkansas.

The defendant shall surrender for service of sentence at the institution designated
by the Bureau of Prisons as notified by the United States lVlarshal.

RETURN

| have executed this judgment as toilows:

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshai

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised reiease, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;

6. The defendant shall refrain from the excessive use of alcohol and shall not purchasel possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

12. if this judgment imposes a fine ora restitution obligationl it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Crimina| Monetary Pena|ties sheet of this judgmentl

ADDlTlONAL COND|T|ONS OF SUPERV|SED FlELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1) Cooperate in the collection of DNA as directed by the probation officer.

2) Participate in drug testing and treatment as directed by the probation officer.

CR|M!NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ai| of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine l`l'otai Fiestitution
$100.00

The Special Assessment shall be due lmmediate|y.

F|NE
No fine imposed.

RESTiTUT|ON
No Fiestitution was ordered.

 

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 37 in
case 2:04-CR-20356 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

Doris A. Randle-Holt

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Jennifer LaWrence Webber
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

